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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN

DEMOCRATIC NATIONAL COMMITTEE
and DEMOCRATIC PARTY OF WISCONSIN,

                                      Plaintiffs,                                                ORDER
         v.
                                                                                              20-cv-249-wmc
MARGE BOSTELMANN, JULIE M. GLANCEY, ANN S.
JACOBS, DEAN KNUDSON, ROBERT F. SPINDELL, JR.
and MARK L. THOMSEN,

                                      Defendants,

         and

REPUBLICAN NATIONAL COMMITTEE
and REPUBLICAN PARTY OF WISCONSIN,

                                       Intervening Defendants
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SYLVIA GEAR, MALEKEH K. HAKAMI, PATRICIA
GINTER, CLAIRE WHELAN, WISCONSIN ALLIANCE
FOR RETIRED AMERICANS and LEAGUE OF WOMEN
VOTERS OF WISCONSIN,

                                      Plaintiffs,
         v.
                                                                                              20-cv-278-wmc
MARGE BOSTELMANN, JULIE M. GLANCEY, ANN S.
JACOBS, DEAN KNUDSON, ROBERT F. SPINDELL, JR.,
MARK L. THOMSEN, and MEAGAN WOLFE,

                                       Defendants.
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REVERAND GREG LEWIS, SOULS TO THE
POLLS, VOCES DE LA FRONTERA, BLACK LEADERS
ORGANIZING FOR COMMUNITIES, AMERICAN
FEDERATION OF TEACHERS, LOCAL, 212, AFL-CIO,
SEIU WISCONSIN STATE COUNCIL and LEAGUE
OF WOMEN VOTERS OF WISCONSIN,

                            Plaintiffs,
       v.
                                                                     20-cv-284-wmc
MARGE BOSTELMANN, JULIE M. GLANCEY, ANN S.
JACOBS, DEAN KNUDSON, ROBERT F. SPINDELL, JR.,
MARK L. THOMSEN, and MEAGAN WOLFE,

                            Defendants.

       In the three above-captioned cases, plaintiff challenge a number of election-related

requirements in light of the COVID-19 health crisis and the upcoming April 7, 2020,

election. Defendants in all three cases are the Commissioners of the Wisconsin Election

Commission (“WEC”); the latter two cases also name the WEC Administrator, Meagan

Wolfe. Plaintiffs are a number of individuals and organizations concerned about the

impact of COVID-19 on the ability of Wisconsin voters to exercise their right to vote either

by absentee ballot or in person.

       At the suggestion of a proposed intervenor, the court will exercise its discretion

under Federal Rule of Civil Procedure 42(a) and consolidate these three cases for all

purposes.   The three cases involve overlapping claims concerning Wisconsin election

requirements, and thus present common questions of law and fact and thus satisfy the

requirement under Rule 42. Moreover, consolidation will facilitate the court’s attempt to

resolve emergency motions pending in the ‘249 and ‘284 cases.

       The court notes that counsel for the plaintiffs is the same for the latter two cases


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but the DNC and the Democratic Party of Wisconsin (the ’249 case) have different

counsel. At this point, the court will not appoint a lead plaintiff but expects plaintiffs’

counsel to coordinate responses as much as possible.

      In consolidating these actions, the court maintains the briefing schedules previously

set in the ’249 and ’284 cases.    Defendants’ response to the motion for preliminary

injunction in the ’249 case remains due March 30, 2020; defendants’ response to the

motion for a temporary restraining order in the ’284 case remains due March 31, 2020.

Because of the overlapping issues raised in these two motions, defendants’ response to the

TRO should focus on the request to postpone the April 7 election. If necessary, the court

will hold a hearing -- via videoconference, telephone, or perhaps, for a limited number of

people, in person -- on Wednesday, April 1, 2020.

      Accordingly, IT IS ORDERED that:

       1) Case Nos. 20-cv-249, 20-cv-278 and 20-cv-284 are CONSOLIDATED for all
          purposes.

       2) The parties are directed to file all submissions in the ’249 case and they will
          automatically be docketed in the other cases.

       Entered this 28th day of March, 2020.

                                         BY THE COURT:


                                         /s/
                                         __________________________________
                                         WILLIAM M. CONLEY
                                         District Judge




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